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JUDGMENT CREDITOR’S AFFIDAVIT (PURSUANT TO E.S.A, 56,29)

STATE OF NEW JERSEY )
COUNTY OF MIDDLESEX ~

Before me, the undersigned authority, personally appeared Michael Pues, who upon being
first duly sworn, deposes and says that:

.. Iam Executor of the Pues Family Trust IRA, judgment creditor in the action
pending before this Court. I am furnishing this affidavit pursuant to Section 56.29, Florida
Statutes.

2. A final judgment in the amount of $510,434.70 plus interest accruing from the date
of entry was entered against the Judgment Debtors as described in judgment creditor’s amended
motion to commence proceedings supplementary in aid of execution. The Issuing court was
registered in this Court from a judgment originating in the United States District Court for the
Eastern District of New York Case No. 11-CV-05537.

3. A writ of execution has been issued and judgment creditor filed a judgment lien
certificate according to applicable Florida Statutes. The judgment remains wholly unsatisfied and
is valid and outstanding.

4, Judgment creditor is entitled to proceedings supplementary to execution as
financial and public records obtained by judgment creditor show that Defendant has attempted to
defraud creditors such as Plaintiff through a variety of means as outlined in the Plaintiff's motion,
The motion details these facts with particularity. The facts described in the motion explain
sufficiently why the stated requested relief is appropriate and judgment creditor incorporates the

facts contained within the motion by reference in this affidavit.

 
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AL
MICHAEL PUES, Executor
PUES FAMILY TRUST IRA

Sworn to and subscribed before me on July ig? by Py chae | fuer , who is

personally known to me.
fA ZF —.

Signature of person taking acknowledgment

 

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Name of acknowledger typed, printed or stamped

 

Notary Public AZ, Jevseey
Title or rank ie

 

   
 

NOTA

 

MY CON

 

 
